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              U.S. District Court
            Middle District of Florida
                Tampa Division

           GOVERNMENT EXHIBIT

  Exhibit No.: 344

  Case No.: 8:22-cr-259-WFJ-AEP

  UNITED STATES OF AMERICA

  vs.

  OMALI YESHITELA, ET AL.


  Date Identified:                    __________

  Date Admitted:                   ____________
                                  Case 8:22-cr-00259-WFJ-AEP                   Document 296-302                   Filed 09/17/24                 Page 2 of 12
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Message Date/Time -
                       Message Direction   Sender            Receiver              Message                                                       Translation/Local Media Path
UTC+00:00 (yyyy/MM/dd)


                                                                                   Этот вопрос перенесли на сл. неделю. А у тебя все документы This question got pushed back to next week. Do you have all the
                                                                                   за себя и Настю с собой? Сможешь подъехать на м.Проспект documents for yourself and Nastya with you? Will you be able to
                                                                                   Вернадского? Меня АБ не отпустит надолго, я сегодня вместо stop by Metro Station Prospekt Vernadskogo? AB won't let me
2021/11/03 08:51:49    Incoming            Egor Popov        Alexander Ionov       начальника.                                                 go for too long, I'm an acting supervisor today.

2022/02/16 19:12:23    Incoming            Egor Popov        Alexander Ionov       Давай лучше завтра. Сегодня с женой тоже беседую.             Let's do tomorrow instead. Today I'm also talking to the wife.
2022/02/16 19:12:48    Outgoing            Alexander Ionov   Egor Popov            Я ей позвоню                                                  I'll call her.
2022/02/16 19:12:51    Outgoing            Alexander Ionov   Egor Popov            Нажалуюсь                                                     I'll complain.
                                                                                                                                                 Media/79168527258@s.whatsapp.net/1/f/1fe3e67b-57ed-467b-
                                                                                                                                                 8c3b-929c29a0cce1.webp




                                                                                   Media/79168527258@s.whatsapp.net/1/f/1fe3e67b-57ed-467b-
2022/02/16 19:13:01    Outgoing            Alexander Ionov   Egor Popov            8c3b-929c29a0cce1.webp
                                                                                                                                                 I also offered to give her your contact [information])) in order to
2022/02/16 19:31:33    Incoming            Egor Popov        Alexander Ionov       Я ей тоже предложить дать твой контакт)) чтобы успокаивал     set her mind at ease
                                                                                                                                                 Media/79168527258@s.whatsapp.net/3/1/31b455d6-f2de-413d-
                                                                                                                                                 926f-a407e90b6352.webp




                                                                                   Media/79168527258@s.whatsapp.net/3/1/31b455d6-f2de-413d-
2022/02/16 19:31:49    Outgoing            Alexander Ionov   Egor Popov            926f-a407e90b6352.webp
                                                                                                                                                 BEGIN:VCARD
                                                                                   BEGIN:VCARD
                                                                                   VERSION:3.0
                                                                                                                                                 VERSION:3.0
                                                                                   N:;Алиночка;;;                                                N :;Alinochka;;;
                                                                                   FN:Алиночка                                                   FN :Alinochka
                                                                                   TEL;type=IPHONE;type=CELL;type=VOICE;waid=79776073987:+7      TEL;type=IPHONE;type=CELL;type=VOICE;waid=7977607398
                                                                                   977 607-39-87                                                 7:+7 977 607-39-87
2022/02/17 07:26:30    Incoming            Egor Popov        Alexander Ionov       END:VCARD                                                     END:VCARD
                                                                                                                                                 BEGIN:VCARD
                                                                                   BEGIN:VCARD
                                                                                   VERSION:3.0
                                                                                                                                                 VERSION:3.0
                                                                                   N:Попова Алина (Suzanne Code);;;;                             N :Popova, Alina (Suzanne Code );;;;
                                                                                   FN:Попова Алина (Suzanne Code)                                FN :Popova, Alina (Suzanne Code)
                                                                                   X-WA-BIZ-NAME:Suzanne Code                                    X-WA-BIZ-NAME:Suzanne Code
                                                                                   TEL;waid=79623697111:+7 962 369-71-11                         TEL;waid=79623697111:+7 962 369-71-11
2022/02/17 07:26:41    Incoming            Egor Popov        Alexander Ionov       END:VCARD                                                     END:VCARD
2022/02/17 07:27:13    Outgoing            Alexander Ionov   Egor Popov            У меня есть номер)                                            I have the number ).
2022/02/17 07:27:17    Outgoing            Alexander Ionov   Egor Popov            Доброе утро                                                   Good morning.
2022/02/17 07:27:24    Incoming            Egor Popov        Alexander Ionov       Доброе!                                                       Good [morning]!
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2022/02/17 07:27:27   Outgoing           Alexander Ionov   Egor Popov            Понимать бы что происходит                                   It would be nice to understand what's happening
                                                                                                                                              Media/79168527258@s.whatsapp.net/8/0/8008d61c-0985-4ffa-
                                                                                                                                              a352-6e93ee395e16.webp




                                                                                 Media/79168527258@s.whatsapp.net/8/0/8008d61c-0985-4ffa-
2022/02/17 07:27:32   Outgoing           Alexander Ionov   Egor Popov            a352-6e93ee395e16.webp
2022/02/17 07:27:40   Incoming           Egor Popov        Alexander Ionov       Я тебя прошу, позванивай ей раз в день/два               Please call her once a day or every other day.
                                                                                                                                          Media/79168527258@s.whatsapp.net/2/6/2683f304-cb73-447e-
                                                                                                                                          9fcc-ab06b2ea3294.webp




                                                                                 Media/79168527258@s.whatsapp.net/2/6/2683f304-cb73-447e-
2022/02/17 07:32:37   Outgoing           Alexander Ionov   Egor Popov            9fcc-ab06b2ea3294.webp
2022/02/17 07:36:29   Outgoing           Alexander Ionov   Egor Popov            Шо не подходишь то                                       Why aren't you answering?
2022/02/17 07:36:36   Incoming           Egor Popov        Alexander Ionov       Сек                                                      One second.
2022/02/17 07:36:37   Outgoing           Alexander Ionov   Egor Popov            Мне Евгению надо набрать?                                Should I call Yevgeniy?
2022/02/17 07:36:48   Outgoing           Alexander Ionov   Egor Popov            Он вот щенков шпица продаёт                              He is selling Pomeranian puppies, actually.
2022/02/17 07:36:54   Outgoing           Alexander Ionov   Egor Popov            [Emoji(s)]                                               [Emoji(s)]
                                                                                                                                            BEGIN:VCARD
                                                                                 BEGIN:VCARD
                                                                                                                                            VERSION:3.0
                                                                                 VERSION:3.0                                                N :Vistoropskiy, Yevgeniy;;;;
                                                                                 N:Висторопский Евгений;;;;                                 FN :Vistoropskiy, Yevgeniy
                                                                                 FN:Висторопский Евгений                                    TEL;type=CELL;type=VOICE;waid=79999887666:+7 999 988-
                                                                                 TEL;type=CELL;type=VOICE;waid=79999887666:+7 999 988-76-66 76-66
2022/02/17 07:38:31   Incoming           Egor Popov        Alexander Ionov       END:VCARD                                                  END:VCARD
2022/02/17 07:38:34   Incoming           Egor Popov        Alexander Ionov       Да                                                           Yes.
2022/02/17 07:38:44   Outgoing           Alexander Ionov   Egor Popov            А ты наберёшь?                                               Will you call?
                                                                                 Только Алине ничего не говори, она не знает и не             Just don't tell Alina anything. She neither knows nor has a clue. A
2022/02/17 07:49:46   Incoming           Egor Popov        Alexander Ionov       догадывается. Далекий от политики человек                    person who is far from being into politics.
                                                                                                                                              Media/79168527258@s.whatsapp.net/b/1/b19fcdf1-a208-4703-
                                                                                                                                              89e1-e09e62e64e9a.webp




                                                                                 Media/79168527258@s.whatsapp.net/b/1/b19fcdf1-a208-4703-
2022/02/17 07:50:21   Outgoing           Alexander Ionov   Egor Popov            89e1-e09e62e64e9a.webp
2022/02/20 08:23:17   Outgoing           Alexander Ionov   Egor Popov            Сергеевич                                                Sergeyevich
                                 Case 8:22-cr-00259-WFJ-AEP                  Document 296-302                Filed 09/17/24               Page 4 of 12
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2022/02/20 08:23:29   Outgoing           Alexander Ionov   Egor Popov            Ты там жив?                                              Are you alive over there?
                                                                                                                                          Media/79168527258@s.whatsapp.net/0/3/03cc19e5-8bd0-41ef-
                                                                                                                                          8b5b-5f154bea3932.webp




                                                                                 Media/79168527258@s.whatsapp.net/0/3/03cc19e5-8bd0-41ef-
2022/02/20 08:23:32   Outgoing           Alexander Ionov   Egor Popov            8b5b-5f154bea3932.webp
2022/06/26 17:34:17   Outgoing           Alexander Ionov   Egor Popov            Егор                                                     Yegor
2022/06/26 17:49:57   Incoming           Egor Popov        Alexander Ionov       м?                                                       Hm?
                                                                                                                                          Media/79168527258@s.whatsapp.net/0/6/06dd0146-aa3e-
                                                                                                                                          46b4-be7f-2941d9fa0486.jpg

                                                                                                                                          [No file]




                                                                                 Media/79168527258@s.whatsapp.net/0/6/06dd0146-aa3e-
2022/06/26 17:51:26   Outgoing           Alexander Ionov   Egor Popov            46b4-be7f-2941d9fa0486.jpg
2022/06/26 17:51:31   Outgoing           Alexander Ionov   Egor Popov            Вторая акция                                             The second event
                                                                                                                                          Media/79168527258@s.whatsapp.net/7/7/77aca3a5-288e-4f10-
                                                                                                                                          b0e9-ec540b31c70f.webp
                                                                                 Media/79168527258@s.whatsapp.net/7/7/77aca3a5-288e-4f10-
2022/06/26 17:51:38   Outgoing           Alexander Ionov   Egor Popov            b0e9-ec540b31c70f.webp                                   [No file]
                                                                                                                                          Media/79168527258@s.whatsapp.net/0/a/0a7f6142-0ee0-4a98-
                                                                                                                                          8fc0-6d4cb5440297.jpg
                                                                                 Media/79168527258@s.whatsapp.net/0/a/0a7f6142-0ee0-4a98-
2022/06/28 08:47:46   Outgoing           Alexander Ionov   Egor Popov            8fc0-6d4cb5440297.jpg                                    [No file]
2022/06/28 08:47:54   Outgoing           Alexander Ionov   Egor Popov            Репостит медузу                                          Is reposting Meduza
2022/06/28 08:48:30   Incoming           Egor Popov        Alexander Ionov       Саш) договаривались же)                                  Sash), didn't we agree on it? )
2022/06/28 08:48:43   Outgoing           Alexander Ionov   Egor Popov            У тебя ещё четыре дня                                    You have another four days.
                                                                                                                                          Media/79168527258@s.whatsapp.net/d/a/da75d780-4984-
                                                                                                                                          4858-b8a0-d8e1a2f30b95.webp

                                                                                                                                          [No file]




                                                                                 Media/79168527258@s.whatsapp.net/d/a/da75d780-4984-
2022/06/28 08:48:48   Outgoing           Alexander Ionov   Egor Popov            4858-b8a0-d8e1a2f30b95.webp
2022/06/28 08:48:55   Outgoing           Alexander Ionov   Egor Popov            И потом                                                  And after that
2022/06/28 08:49:06   Outgoing           Alexander Ionov   Egor Popov            Броня крепка и танки наши быстры                         The armor is strong, and our tanks are fast.
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                                                                                                                                           Sash, we are drinking). Is it something urgent? Should I step
2022/06/30 15:22:03   Incoming           Egor Popov        Alexander Ionov      Саш, пьем) что-то срочно? Выйти?))                         out?))
2022/06/30 15:22:12   Outgoing           Alexander Ionov   Egor Popov           Ого                                                        Wow
2022/06/30 15:22:14   Outgoing           Alexander Ionov   Egor Popov           Ну пейте                                                   Well, keep drinking.
2022/06/30 15:22:21   Outgoing           Alexander Ionov   Egor Popov           По НГ новости есть                                         There is some news in NG.
                                                                                Саш, привет! Мало фотографий с покздки Ломбардо.           Hi, Sash! There are not enough photos from Lombardo's trip. The
                                                                                События проходили 3 дня. Создается впечатление, что там    events continued for three days. I get the impression that
                                                                                ничего не фотографировали - мероприятия масштабные, а      nothing was photographed there - the events are [sic] large-
2022/07/01 08:27:27   Incoming           Egor Popov        Alexander Ionov      освещения никакого.                                        scale, yet there is [sic] no coverage.
                                                                                И нужны ссылки на испанскую прессу. Одного Воркерс не      And I also need some links to the Spanish press. Workers alone
2022/07/01 08:27:49   Incoming           Egor Popov        Alexander Ionov      достаточно.                                                isn't enough.

2022/07/01 08:28:56   Incoming           Egor Popov        Alexander Ionov      Мне нужны материалы к 16 ч, не позже. Реши плз             I need the materials by no later than 16:00. Please take care of it.
2022/07/01 08:31:13   Outgoing           Alexander Ionov   Egor Popov           Три фото же обычно                                         Usually, it's three photos.
2022/07/01 08:31:20   Outgoing           Alexander Ionov   Egor Popov           [Emoji(s)]                                                 [Emoji(s)]
                                                                                                                                           Media/79168527258@s.whatsapp.net/0/2/023f0a4d-d808-48b4-
                                                                                                                                           b050-7150514f6322.jpg

                                                                                                                                           [No file]




                                                                                Media/79168527258@s.whatsapp.net/0/2/023f0a4d-d808-48b4-
2022/07/01 08:31:34   Outgoing           Alexander Ionov   Egor Popov           b050-7150514f6322.jpg
                                                                                                                                           Media/79168527258@s.whatsapp.net/6/4/64c838b7-abbd-
                                                                                                                                           4412-b124-e993987288c5.jpg

                                                                                                                                           [No file]




                                                                                Media/79168527258@s.whatsapp.net/6/4/64c838b7-abbd-
2022/07/01 08:31:35   Outgoing           Alexander Ionov   Egor Popov           4412-b124-e993987288c5.jpg
                                                                                                                                           Media/79168527258@s.whatsapp.net/4/5/458d7527-c26a-
                                                                                                                                           4791-a011-34a3e1571b0d.jpg

                                                                                                                                           [No file]




                                                                                Media/79168527258@s.whatsapp.net/4/5/458d7527-c26a-
2022/07/01 08:31:36   Outgoing           Alexander Ionov   Egor Popov           4791-a011-34a3e1571b0d.jpg
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                                                                                                                                           Media/79168527258@s.whatsapp.net/b/8/b87fb1d1-b702-
                                                                                                                                           43be-8991-e0bb5ee0bba2.jpg

                                                                                                                                           [No file]




                                                                                Media/79168527258@s.whatsapp.net/b/8/b87fb1d1-b702-
2022/07/01 08:31:37   Outgoing           Alexander Ionov   Egor Popov           43be-8991-e0bb5ee0bba2.jpg
                                                                                                                                           Media/79168527258@s.whatsapp.net/6/6/66d7a8ed-16c9-
                                                                                                                                           431e-808f-6360f0504828.jpg

                                                                                                                                           [No file]




                                                                                Media/79168527258@s.whatsapp.net/6/6/66d7a8ed-16c9-
2022/07/01 08:31:38   Outgoing           Alexander Ionov   Egor Popov           431e-808f-6360f0504828.jpg
                                                                                                                                           Media/79168527258@s.whatsapp.net/4/e/4e39006b-b485-
                                                                                                                                           46a5-abb1-b86c8eb1a8c9.jpg

                                                                                                                                           [No file]




                                                                                Media/79168527258@s.whatsapp.net/4/e/4e39006b-b485-
2022/07/01 08:31:39   Outgoing           Alexander Ionov   Egor Popov           46a5-abb1-b86c8eb1a8c9.jpg
2022/07/01 08:31:51   Outgoing           Alexander Ionov   Egor Popov           Что бы ты без меня делал                                   What would you do without me?
                                                                                                                                           Media/79168527258@s.whatsapp.net/3/8/384fe53b-2437-4fda-
                                                                                                                                           832c-84bcdfe09f85.webp

                                                                                                                                           [No file]




                                                                                Media/79168527258@s.whatsapp.net/3/8/384fe53b-2437-4fda-
2022/07/01 08:31:56   Outgoing           Alexander Ionov   Egor Popov           832c-84bcdfe09f85.webp
2022/07/01 08:32:26   Incoming           Egor Popov        Alexander Ionov      Воооо, другое дело! Красавчик!                           Wow, that's a different story! You rock, man!
                                                                                                                                         Do you have another one or two from the round tables and
2022/07/01 08:32:44   Incoming           Egor Popov        Alexander Ionov      А с круглых столов и форумов есть еще 1-2?               forums?
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                                                                                                                                             Media/79168527258@s.whatsapp.net/3/1/31808da2-dff8-4e30-
                                                                                                                                             8f89-e75cc4f4ab24.webp

                                                                                                                                             [No file]




                                                                                Media/79168527258@s.whatsapp.net/3/1/31808da2-dff8-4e30-
2022/07/01 08:32:51   Outgoing           Alexander Ionov   Egor Popov           8f89-e75cc4f4ab24.webp
2022/07/01 08:56:46   Incoming           Egor Popov        Alexander Ionov      3AD55D47999283923C3E                                     3AD55D47999283923C3E

                                                                                И ссылочки на испанские СМИ☝ Не только же Воркерс          And links to the Spanish mass media. Workers wasn't the only
                                                                                освещали такое масшабное событие? Кстати, сколько там      one covering such a large-scale event, was it? By the way, how
2022/07/01 08:57:10   Incoming           Egor Popov        Alexander Ionov      примерно было человек?                                     many people were there, approximately?
                                                                                https://www.google.ru/search?q=anti+nato+protests&newwindo https://www.google.ru/search?q=anti+nato+protests&newwindo
                                                                                w=1&prmd=inv&sxsrf=ALiCzsYvoVHWq6Kc9W2w6xozZHqdcvFM w=1&prmd=inv&sxsrf=ALiCzsYvoVHWq6Kc9W2w6xozZHqdcvFM
                                                                                Vw:1656667238741&source=lnms&tbm=nws&sa=X&ved=2ahUK Vw:1656667238741&source=lnms&tbm=nws&sa=X&ved=2ahUK
                                                                                Ewi2qZqyrtf4AhWygv0HHWYcD-                                 Ewi2qZqyrtf4AhWygv0HHWYcD-
2022/07/01 09:20:58   Outgoing           Alexander Ionov   Egor Popov           QQ_AUoAnoECAIQAg&biw=428&bih=746&dpr=3                     QQ_AUoAnoECAIQAg&biw=428&bih=746&dpr=3
2022/07/01 09:21:00   Outgoing           Alexander Ionov   Egor Popov           Вот                                                        Here you are.
2022/07/01 09:21:03   Outgoing           Alexander Ionov   Egor Popov           Развлекайся)                                               Have fun)

                                                                                А где-нибудь кроме «СИ» освещалась акция у капитолия в       Apart from 'SI', was the event by the Capitol in Atlanta covered
2022/07/01 12:19:16   Incoming           Egor Popov        Alexander Ionov      Атланте? В прошлый раз тоже не было ссылок                   anywhere else? Last time there were no links either.
2022/07/01 12:19:21   Incoming           Egor Popov        Alexander Ionov      [Emoji(s)]                                                   [Emoji(s)]
2022/07/29 07:54:26   Incoming           Egor Popov        Alexander Ionov      А как зовут этого министра Ливана?                           And what's this Lebanon's Minister's name?
2022/07/29 07:54:35   Incoming           Egor Popov        Alexander Ionov      Доброе утро‼                                                 Good morning!!

                                                                                У них де должность совмещенная? Министр иностранных          Where is their joint duty assignment position? The Minister of
2022/07/29 07:55:33   Incoming           Egor Popov        Alexander Ionov      дел и миграции?                                              Foreign Affairs and Migration?

2022/07/29 07:56:08   Incoming           Egor Popov        Alexander Ionov      А чиновникам в Ливане можно регистрировать фирмы?            Are public servants in Lebanon allowed to register firms?
                                                                                Новость про Риттера в топ Яндекс зашла? А кто ее             Did the news about Ritter make it to the Yandex top?
2022/07/29 08:10:17   Incoming           Egor Popov        Alexander Ionov      цитировал? Дай 3-4 ссылки.                                   And who quoted it? Give three or four links.
2022/07/29 08:10:21   Incoming           Egor Popov        Alexander Ionov      Хочу показать масштаб                                        I want to show the scope
2022/07/29 08:23:29   Outgoing           Alexander Ionov   Egor Popov           Слушай, посмотрел                                            Listen, I checked

2022/07/29 08:23:44   Outgoing           Alexander Ionov   Egor Popov           В Яндекс попали новости от его выступления на ютубе          The news about his public speech on Youtube made it to Yandex
2022/07/29 08:24:07   Outgoing           Alexander Ionov   Egor Popov           А часть статей от ридовки                                    How about some articles from Readovka?
2022/07/29 08:24:12   Outgoing           Alexander Ionov   Egor Popov           Что то непонятное                                            I'm confused
                                                                                                                                             Media/79168527258@s.whatsapp.net/0/9/09baf05f-83d4-4f46-
                                                                                                                                             b3af-27741bc06af5.webp

                                                                                                                                             [No file]




                                                                                Media/79168527258@s.whatsapp.net/0/9/09baf05f-83d4-4f46-
2022/07/29 08:24:15   Outgoing           Alexander Ionov   Egor Popov           b3af-27741bc06af5.webp
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2022/07/29 08:24:18   Incoming           Egor Popov        Alexander Ionov      Ну пришли ссылки                                            Well, the links are in
2022/07/29 08:34:07   Outgoing           Alexander Ionov   Egor Popov           Они все на видео все таки                                   All of them are on video after all
2022/07/29 08:34:25   Outgoing           Alexander Ionov   Egor Popov           Я не могу определить первоисточник из за рерайтинга         I can't determine the primary source because of rewriting
2022/07/29 08:34:30   Outgoing           Alexander Ionov   Egor Popov           Не понятно                                                  It's not clear
2022/07/29 08:34:38   Outgoing           Alexander Ionov   Egor Popov           В нашей статье те же вопросы                                Our article has the same questions
2022/07/29 08:34:39   Incoming           Egor Popov        Alexander Ionov      Хорошо)                                                     Good)
2022/07/29 08:34:57   Outgoing           Alexander Ionov   Egor Popov           А то скажешь что обманываемся                               Otherwise, you'll say that we are delusional
2022/07/29 08:35:07   Outgoing           Alexander Ionov   Egor Popov           Я Собчак смотрю                                             I'm watching Sobchak
2022/07/29 08:35:11   Outgoing           Alexander Ionov   Egor Popov           Такая тварь                                                 What a bitch!
2022/07/29 08:54:27   Incoming           Egor Popov        Alexander Ionov      А видел ты имеешь Ломбардо с Риттером?                      And did you see do you have [sic] Lombardo with Ritter?
2022/07/29 08:54:34   Incoming           Egor Popov        Alexander Ionov      видео*                                                      the video*
2022/07/29 08:54:48   Incoming           Egor Popov        Alexander Ionov      Это ты организовал?                                         Were you the one who arranged it?
2022/07/29 08:54:54   Incoming           Egor Popov        Alexander Ionov      На него тоже ссылки были?                                   Were there any links to it, too?
2022/07/29 08:58:39   Outgoing           Alexander Ionov   Egor Popov           Нет                                                         No
2022/07/29 08:58:41   Outgoing           Alexander Ionov   Egor Popov           Это                                                         This one
2022/07/29 08:58:43   Outgoing           Alexander Ionov   Egor Popov           https://youtu.be/_sIlJLs-NbQ                                https://youtu.be/_sIlJLs-NbQ
                                                                                Нет, я их познакомил в прошлом году и мы делали выпуски в   No, I introduced them last year, and we did some broadcasts on
2022/07/29 08:59:03   Outgoing           Alexander Ionov   Egor Popov           зум                                                         Zoom
2022/07/29 08:59:09   Outgoing           Alexander Ionov   Egor Popov           Я же писал об этом                                          I did write about it
                                                                                А я тебе об этом http://stop-                               And I'm telling you about this - http://stop-
2022/07/29 09:39:49   Incoming           Egor Popov        Alexander Ionov      imperialism.com/2022/07/29/47604/                           imperialism.com/2022/07/29/47604
                                                                                Саш, можешь для Взгляда дать комментарий по Новой           Sash, can you give a commentary on Novaya Gazeta for Vzglyad?
2022/07/29 10:40:50   Incoming           Egor Popov        Alexander Ionov      газете? Я дам твой контакт?                                 Can I share your contact information?
2022/07/29 10:41:09   Outgoing           Alexander Ionov   Egor Popov           Хорошо                                                      Alright
2022/07/29 10:41:17   Incoming           Egor Popov        Alexander Ionov      По теме их лтквидации                                       On the subject of their liquidation
2022/07/29 10:41:31   Outgoing           Alexander Ionov   Egor Popov           Хорошо                                                      Alright
2022/07/29 10:41:41   Outgoing           Alexander Ionov   Egor Popov           Когда звонить будут?                                        When will they call?
2022/07/29 10:42:15   Incoming           Egor Popov        Alexander Ionov      Пока не знаю♂                                               I don't know yet♂
2022/07/29 10:42:21   Outgoing           Alexander Ionov   Egor Popov           Оке                                                         Okay
                                                                                Саш, ты фотки в документе к первому мероприятию вообще      Sash, the pics in the document for the first event that you have
2022/07/29 12:06:10   Incoming           Egor Popov        Alexander Ionov      не те прислал                                               sent are completely wrong
2022/07/29 12:06:35   Outgoing           Alexander Ionov   Egor Popov           Мне какие прислали те и вставил                             I inserted those that had been sent to me.
2022/07/29 12:06:42   Outgoing           Alexander Ionov   Egor Popov           Почему не те то                                             Why are they wrong anyway
2022/07/29 12:06:48   Incoming           Egor Popov        Alexander Ionov      Ну это не аргумент                                          Well, that's not a good argument
2022/07/29 12:06:51   Outgoing           Alexander Ionov   Egor Popov           [Emoji(s)]                                                  [Emoji(s)]
                                                                                                                                            Check it out, there are some niggers there. And the protests are
2022/07/29 12:07:10   Incoming           Egor Popov        Alexander Ionov      Посмотри, там нигеры какие-то. А акции против абортов       against abortion
2022/07/29 16:14:32   Outgoing           Alexander Ionov   Egor Popov           Уже в топе Яндекса                                          Already in the Yandex top
2022/07/29 16:14:34   Outgoing           Alexander Ionov   Egor Popov           [Emoji(s)]                                                  [Emoji(s)]
                                                                                                                                            Media/79168527258@s.whatsapp.net/7/6/760997dc-4dd5-48f9-
                                                                                                                                            a4c7-e47dc26c2f87.jpg

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                                                                                Media/79168527258@s.whatsapp.net/7/6/760997dc-4dd5-48f9-
2022/07/29 16:17:50   Incoming           Egor Popov        Alexander Ionov      a4c7-e47dc26c2f87.jpg
                                 Case 8:22-cr-00259-WFJ-AEP                  Document 296-302               Filed 09/17/24                 Page 9 of 12
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                                                                                                                                           a7b6-c035065c4484.webp

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                                                                                Media/79168527258@s.whatsapp.net/6/2/62acdccb-13b7-4a7b-
2022/07/29 16:18:04   Outgoing           Alexander Ionov   Egor Popov           a7b6-c035065c4484.webp
                                                                                                                                           Media/79168527258@s.whatsapp.net/b/4/b4fafa2b-4303-4363-
                                                                                                                                           bb57-e73b8295f05c.jpg

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                                                                                Media/79168527258@s.whatsapp.net/b/4/b4fafa2b-4303-4363-
2022/07/29 16:19:19   Incoming           Egor Popov        Alexander Ionov      bb57-e73b8295f05c.jpg
                                                                                                                                           Media/79168527258@s.whatsapp.net/8/9/89b18b05-67d2-
                                                                                                                                           48cd-902b-ed864d394876.jpg

                                                                                                                                           [No file]




                                                                                Media/79168527258@s.whatsapp.net/8/9/89b18b05-67d2-
2022/07/29 17:51:38   Outgoing           Alexander Ionov   Egor Popov           48cd-902b-ed864d394876.jpg
2022/07/29 17:57:09   Incoming           Egor Popov        Alexander Ionov      Твою дивизию                                               Cripes!
2022/07/29 18:10:36   Incoming           Egor Popov        Alexander Ionov      Саш, ну я занят                                            Well, Sash, I'm busy.
2022/07/29 18:10:41   Outgoing           Alexander Ionov   Egor Popov           Да пизда                                                   It's fucked up.

                                                                                Ионов оказывал финансовую поддержку этим группам,
                                                                                координировал и финансировал прямые действия этих групп    Ionov provided financial support to these groups, coordinated
                                                                                в Соединенных Штатах, направленные на продвижение          and funded direct actions by these groups within the United
                                                                                интересов России, также координировал освещение этой       States intended to further Russian interests, and coordinated
                                                                                деятельности в российских СМИ. Ионов также передал         coverage of this activity in Russian media outlets. Ionov also
                                                                                подробную информацию об этой кампании влияния трем         relayed detailed information about this influence campaign to
2022/07/29 18:10:44   Outgoing           Alexander Ionov   Egor Popov           сотрудникам ФСБ», — утверждается в публикации.             three FSB officials, claims the publication.
2022/07/29 18:21:09   Incoming           Egor Popov        Alexander Ionov      Это кто пишет?                                             Who is writing it?
                                 Case 8:22-cr-00259-WFJ-AEP                  Document 296-302                  Filed 09/17/24                 Page 10 of 12
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                                                                                 Гражданин России обвиняется в сговоре с целью иметь США
                                                                                 Граждане выступают в качестве незаконных агентов
                                                                                 правительства России

                                                                                 Сегодня в Тампе, штат Флорида, было распечатано
                                                                                 обвинительное заключение, обвиняющее российского
                                                                                 гражданина, работающего от имени российского
                                                                                 правительства и совместно с Федеральной службой
                                                                                 безопасности России (ФСБ), в организации многолетней
                                                                                 кампании иностранного злонамеренного влияния, которая
                                                                                 использовала различные политические группы США для
                                                                                 сеивания разногласий, распространения пророссийской
                                                                                 пропаганды и вмешательства в выборы в Соединенных
                                                                                 Штатах.

                                                                                 Как утверждается в обвинительном заключении, по крайней
                                                                                 мере, с декабря 2014 года по март 2022 года житель Москвы
                                                                                 Александр Викторович Ионов вместе с тремя российскими
                                                                                 чиновниками участвовали в многолетней кампании
                                                                                 иностранного злонаменительного влияния, направленной
                                                                                 против Соединенных Штатов. Ионов является основателем и
                                                                                 президентом Антиглобализационного движения России
                                                                                 (AGMR), организации со штаб-квартирой в Москве и
                                                                                 финансируемой российским правительством. Ионов
                                                                                 использовал AGMR для проведения кампании влияния
                                                                                 России.

2022/07/29 18:21:16   Outgoing           Alexander Ionov   Egor Popov            "Как показывают судебные документы, Ионов якобы               [See attached.]
2022/07/29 18:22:42   Outgoing           Alexander Ionov   Egor Popov            Телефоны на помойку                                           Trash the phones.
                                                                                                                                               Didn't I tell you that the phone that the Arabs had given you as a
2022/07/29 18:23:00   Incoming           Egor Popov        Alexander Ionov       А я тебе говорил, странный телефон тебе арабы подарили        gift was weird?
2022/07/29 18:23:15   Outgoing           Alexander Ionov   Egor Popov            У меня его сто лет нет                                        I haven't had it for ages
2022/07/29 18:23:21   Outgoing           Alexander Ionov   Egor Popov            Он второй был                                                 It was the second one
2022/07/29 18:26:36   Outgoing           Alexander Ionov   Egor Popov            Борисыч в Газета ру прочитал                                  Borisych [PH] read it on Gazeta.ru
2022/07/29 19:08:28   Outgoing           Alexander Ionov   Egor Popov            Все                                                           That's it.
2022/07/29 19:08:48   Outgoing           Alexander Ionov   Egor Popov            Сергеевич со мной не общается больше                          Sergeyevich [PH] isn't talking to me anymore.
                                                                                                                                               Sash, I'll call you. I'm at an event at the moment, it's completely
2022/07/29 19:09:09   Incoming           Egor Popov        Alexander Ionov       Саш, я наберу. На мероприятии сейчас никак не связано         unrelated
                                                                                                                                               Media/79168527258@s.whatsapp.net/6/8/6830c9cb-2d18-
                                                                                                                                               42b0-a75f-4e7eb316d664.webp

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                                                                                 Media/79168527258@s.whatsapp.net/6/8/6830c9cb-2d18-
2022/07/29 19:09:16   Outgoing           Alexander Ionov   Egor Popov            42b0-a75f-4e7eb316d664.webp
                                                                                 Саш, доброе утро! Будь на связи. Сегодня готовим справку по Good morning, Sash! Stay in touch. Today we are preparing a
2022/07/31 06:54:16   Incoming           Egor Popov        Alexander Ionov       ситуации для С.                                             situational information report for S.
2022/07/31 07:10:29   Outgoing           Alexander Ionov   Egor Popov            [Emoji(s)]                                                  [Emoji(s)]
2022/07/31 07:57:22   Outgoing           Alexander Ionov   Egor Popov            Вечер в хату                                                Greetings!
2022/07/31 07:57:29   Outgoing           Alexander Ionov   Egor Popov            Теперь буду так здороваться                                 From now on that's the way I'll be saying hello.
2022/07/31 07:57:33   Outgoing           Alexander Ionov   Egor Popov            [Emoji(s)]                                                  [Emoji(s)]
                                 Case 8:22-cr-00259-WFJ-AEP                  Document 296-302                  Filed 09/17/24                  Page 11 of 12
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2022/07/31 07:57:41   Incoming           Egor Popov        Alexander Ionov       ))                                                             ))
2022/07/31 07:57:47   Outgoing           Alexander Ionov   Egor Popov            Че не звонишь?                                                 Why aren't you calling?
2022/07/31 07:58:08   Incoming           Egor Popov        Alexander Ionov       Погоди, еще позвоню☺                                           Hold on, I will call ☺
                                                                                                                                                Media/79168527258@s.whatsapp.net/0/c/0c8a9156-66d2-49e9-
                                                                                                                                                adb9-f6fca1532650.jpg

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                                                                                 Media/79168527258@s.whatsapp.net/0/c/0c8a9156-66d2-49e9-
2022/07/31 08:28:57   Outgoing           Alexander Ionov   Egor Popov            adb9-f6fca1532650.jpg
2022/07/31 08:29:31   Incoming           Egor Popov        Alexander Ionov       Все перевел?                                             Did you translate everything?
2022/07/31 08:31:01   Outgoing           Alexander Ionov   Egor Popov            Не все                                                   Not everything
2022/07/31 08:31:14   Incoming           Egor Popov        Alexander Ionov       Кто такой Grand Jury?                                    Who is Grand Jury ?
2022/07/31 08:31:28   Outgoing           Alexander Ionov   Egor Popov            Это собрание всех пидоров                                That's all faggots gathered together
2022/07/31 08:31:36   Outgoing           Alexander Ionov   Egor Popov            Большое жюри                                             The grand jury
2022/07/31 08:31:43   Outgoing           Alexander Ionov   Egor Popov            Из прокурора И так далее                                 The prosecutor and so on
2022/07/31 08:31:48   Outgoing           Alexander Ionov   Egor Popov            Это не кто а что)                                        It's not who, it's what)

2022/07/31 08:39:09   Incoming           Egor Popov        Alexander Ionov       В офисах каких движений прошли обыски?                         The offices of what movements were subjected to search?
2022/07/31 08:39:23   Outgoing           Alexander Ionov   Egor Popov            Ухуру и Чёрный молот
                                                                                 Дело 8:22-cr-00259-WFJ-AEP Документ 1 Подан 26.07.22           The Uhuru and the Black Hammer
                                                                                 Страница 1 из 25 Страница 1
                                                                                 ПОДПИТЫВАЕМЫЙ
                                                                                 ОКРУЖНОЙ СУД СОЕДИНЕННЫХ ШТАТОВ
                                                                                 Средний ОКРУГ ФЛОРИДЫ
                                                                                 ДИВИЗИОН ТАМПЫ
                                                                                 7:17
                                                                                 СОЕДИНЕННЫЕ ШТАТЫ Америки
                                                                                 КЛЕРК,УТУРТ
                                                                                 V.
                                                                                 caseno. 7-22-cr-259-WFJ-Aep
                                                                                 18 U. S. C. § 371
                                                                                 АЛЕКСАНДР ВИКТОРОВИЧ
                                                                                 ИОНОВ, он же "Александр Ионов", он же "
                                                                                 Саша"
                                                                                 МЕЛКО НАРЕЗАННЫЙ
                                                                                 обвинительный акт
                                                                                 Большое жюри предъявляет обвинения:
                                                                                 A. Введение
                                                                                 Временами материал для этого обвинительного заключения:
                                                                                 1. АЛЕКСАНДР ВИКТОРОВИЧ ИОНОВ ("ИОНОВ") был
                                                                                 гражданином
                                                                                 Российской Федерации ("Россия"), который проживал в
                                                                                 Москве, Россия. ИОНОВ был
                                                                                 основатель и президент Антиглобалистского движения
                                                                                 России
                                                                                 ("AGMR") со штаб-квартирой в Москве, Россия. Согласно его
2022/07/31 08:41:16   Outgoing           Alexander Ionov   Egor Popov            веб-сайту, AGMR                                           [See attached.]
2022/07/31 08:41:36   Incoming           Egor Popov        Alexander Ionov       Не надо, я на английском прочитаю                         Don't. I'll read it in English
2022/07/31 08:42:04   Outgoing           Alexander Ionov   Egor Popov            Опасно                                                    That's dangerous
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                                                                                                                                              In conjunction with what Article [of the Penal Code] have you
2022/07/31 08:42:05   Incoming           Egor Popov        Alexander Ionov       По какой статье тебе предъявлено обвинение?                  been charged?

2022/07/31 08:42:21   Incoming           Egor Popov        Alexander Ionov       Меня интересует номер статьи, а не содержание            I'm interested in the Article number rather than its content
2022/07/31 08:42:31   Outgoing           Alexander Ionov   Egor Popov            Нет у меня статьи                                        I don't have the Article
2022/07/31 08:42:36   Outgoing           Alexander Ionov   Egor Popov            Найду и напишу                                           I'll find it and send a message.
2022/07/31 08:42:48   Incoming           Egor Popov        Alexander Ionov       Найди плз, сейчас надо                                   Please find it, I need it now
2022/07/31 08:58:21   Incoming           Egor Popov        Alexander Ionov       Какие организации вступились за тебя и ухуру?            What organizations stood up for you and the Uhuru?
                                                                                 Ухуру, Африканская соц партия, комитет против репрессий  The Uhuru, the African Socialist Party, the Committee to Stop FBI
                                                                                 фбр, антивоенный комитет Чикаго, унак, альянс против     Repression, the Chicago Anti-War Committee, UNAC, Alliance
2022/07/31 09:02:10   Outgoing           Alexander Ionov   Egor Popov            расизма и политических репрессий                         Against Racism and Political Repression
2022/07/31 09:19:24   Incoming           Egor Popov        Alexander Ionov       А в сша должность помощник = заместитель?                And in the USA, the position 'assistant' = 'deputy'?
2022/07/31 09:19:40   Outgoing           Alexander Ionov   Egor Popov            Вот это не знаю                                          That I don't know
2022/07/31 09:19:44   Outgoing           Alexander Ionov   Egor Popov            Честно                                                   Honestly
2022/07/31 09:19:50   Outgoing           Alexander Ionov   Egor Popov            У них странные должности                                 They have weird positions
2022/07/31 09:45:19   Incoming           Egor Popov        Alexander Ionov       Ну найди статью плз, меня спрашивают                     Well, find the Article, please, I'm being asked
                                                                                 Кто из государственных должностных лиц в сша высказался
2022/07/31 09:53:37   Incoming           Egor Popov        Alexander Ionov       по твоей теме?                                           What US government official spoke up on your topic?
                                                                                 Про чиновников Минюста и помощников генпрокурора знаю. I know about the Department of Justice officials and Assistant
2022/07/31 09:54:17   Incoming           Egor Popov        Alexander Ionov       Нужны другие, типо Блинкена                              Attorneys General. I need others, like Blinken.
                                                                                 https://m.youtube.com/watch?v=7FhDDZkQ4vk&feature=youtu. https://m.youtube.com/watch?v=7FhDDZkQ4vk&feature=youtu.
2022/07/31 10:52:41   Outgoing           Alexander Ionov   Egor Popov            be                                                       be
2022/07/31 11:18:07   Incoming           Egor Popov        Alexander Ionov       А шинн фейн когда приезжала? В 2015?                     And when did Sinn Fein visit? In 2015?
2022/07/31 11:18:25   Outgoing           Alexander Ionov   Egor Popov            И в 16,17                                                And in [20]16, and [20]17.
                                                                                 уведомления Генерального прокурора, как того требует     Notification to the Attorney General, as required by law, in
2022/07/31 11:45:30   Outgoing           Alexander Ionov   Egor Popov            закон, в нарушение 18 U.S. C. § 951(a).                  violation of 18.U.S.C. §951(a).
2022/07/31 11:48:57   Incoming           Egor Popov        Alexander Ionov       Что это?                                                 What's that?
2022/07/31 11:49:25   Outgoing           Alexander Ionov   Egor Popov            Закон ФАРА                                               The FARA law
2022/07/31 11:52:40   Incoming           Egor Popov        Alexander Ionov       А по каким статьям тебя обвиняют этого заклна?           And under what Articles of this law do they charge you?
2022/07/31 11:52:56   Incoming           Egor Popov        Alexander Ionov       Я не онимаю, что значат эти цифры                        I don't understand what these digits mean.

                                                                                 18 U.S.C. § 951 требует, чтобы агенты, действующие под
                                                                                 контролем иностранных правительств или иностранных
                                                                                                                                              18.U.S.C. §951(a) requires that agents operating under the
                                                                                 должностных лиц, кроме дипломатов, уведомили                 control of foreign governments or foreign officials, other
                                                                                 Генерального прокурора перед действием. Существует           than diplomats, notify the Attorney General before acting.
                                                                                 ограниченное исключение для тех, кто занимается              There is a limited exception for those engaged in legal
                                                                                 законными коммерческими сделками. Регистрация в FARA         commercial transactions. Registration under FARA serves
2022/07/31 11:52:58   Outgoing           Alexander Ionov   Egor Popov            служит необходимым уведомлением.                             as the requisite notification.
2022/07/31 11:53:20   Outgoing           Alexander Ionov   Egor Popov            Параграф 951 а                                               Paragraph 951 a
                                                                                                                                              Media/79168527258@s.whatsapp.net/2/1/2186363a-f9f5-4ce8-
                                                                                                                                              83d4-62097a27c7be.jpg

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                                                                                 Media/79168527258@s.whatsapp.net/2/1/2186363a-f9f5-4ce8-
2022/07/31 11:53:47   Outgoing           Alexander Ionov   Egor Popov            83d4-62097a27c7be.jpg
